 Case 2:15-ml-02668-PSG-SK Document 1437 Filed 06/19/24 Page 1 of 5 Page ID #:52677



 1
      Beth A. Wilkinson (admitted pro hac vice)
 2    Brian L. Stekloff (admitted pro hac vice)
      Rakesh N. Kilaru (admitted pro hac vice)
 3    Jeremy S. Barber (admitted pro hac vice)
      Max J. Warren (admitted pro hac vice)
 4    WILKINSON STEKLOFF LLP
      2001 M Street NW, 10th Floor
 5    Washington, DC 20036
      Telephone: (202) 847-4000
 6    Facsimile: (202) 847-4005
      bwilkinson@wilkinsonstekloff.com
 7    bstekloff@wilkinsonstekloff.com
      rkilaru@wilkinsonstekloff.com
 8    jbarber@wilkinsonstekloff.com
      mwarren@wilkinsonstekloff.com
 9
      Gregg H. Levy (admitted pro hac vice)
10    Derek Ludwin (admitted pro hac vice)
      John S. Playforth (admitted pro hac vice)
11    COVINGTON & BURLING LLP
      One CityCenter, 850 10th Street NW
12    Washington, D.C. 20001
      Telephone: (202) 662-6000
13    Facsimile: (202) 778-5429
      glevy@cov.com
14    dludwin@cov.com
      jplayforth@cov.com
15
      Counsel for Defendants National Football
16    League, NFL Enterprises LLC, and the
      Individual NFL Clubs
17

18
                                        UNITED STATES DISTRICT COURT
19
                                    CENTRAL DISTRICT OF CALIFORNIA
20
     IN RE: NATIONAL FOOTBALL
21                                                    Case No. 2:15-ml-02668−PSG (SKx)
     LEAGUE’S “SUNDAY TICKET”
22   ANTITRUST LITIGATION                             NFL DEFENDANTS’ RESPONSE IN
     ______________________________                   OPPOSITION TO PLAINTIFFS’
23                                                    MOTION FOR RECONSIDERATION
                                                      REGARDING REBUTTAL CASE
24   THIS DOCUMENT RELATES TO:
     ALL ACTIONS                                      Judge: Hon. Philip S. Gutierrez
25                                                    Courtroom: First Street Courthouse
26                                                               350 West 1st Street
                                                                 Courtroom 6A
27                                                               Los Angeles, CA 90012
28


     Case No. 2:15-ml-02668-PSG (SKx)                  NFL Defendants’ Response In Opposition To Plaintiffs’ Motion For
                                                                             Reconsideration Regarding Rebuttal Case
 Case 2:15-ml-02668-PSG-SK Document 1437 Filed 06/19/24 Page 2 of 5 Page ID #:52678



 1            Defendants oppose Plaintiffs’ motion for reconsideration. Yesterday, the Court
 2   instructed Plaintiffs to provide their offer of proof in their written presentation to the Court:
 3                     THE COURT: On Thursday – I received a brief from the
                       defendants with regard to the rebuttal. I’m not sure; is the
 4
                       plaintiff going to give me something or you just want to argue
 5                     it?
 6                     MS. SRINIVASAN: Your Honor, we’ll submit something to
 7                     the Court and then we can be available to argue it at the Court’s
                       convenience.
 8                                             *     *      *
 9
                       THE COURT: So we have 8:30 on Thursday to discuss it. I
10                     mean, the easiest way – again – I think I’ll have a better sense
11
                       after this witness testifies as well. In your presentation, I would
                       like an offer of proof as to what testimony makes it rebuttal
12                     testimony. And, you know, typically if we just had one, it would
13
                       be verbal and I would say, you know, the offer of proof is that –
                       whatever. That’s why it’s rebuttal. But any – something like
14                     that so I can analyze it sooner rather than later.
15
     6/18/2024 Tr. 1832:12–1833:10 (emphasis added).
16
              In their motion for reconsideration and associated filing, Plaintiffs do not provide
17
     any such proffer, and instead provide only a generalized description of Mr. Elhauge’s
18
     testimony. See ECF No. 1435-1, at 3 (briefly discussing Mr. Elhauge’s testimony on
19
     procompetitive benefits and less restrictive alternatives); see also ECF No. 1435, at 2
20
     (suggesting instead that Plaintiffs “will be prepared with an offer of proof regarding Mr.
21
     Elhauge’s testimony on June 20 if the Court so permits”). But Defendants’ procompetitive
22
     benefits have long been known to Plaintiffs, and there is no explanation for why Plaintiffs
23
     did not present their responses in their case-in-chief. See ECF No. 1425, at 3–6. Rebuttal
24
     is an opportunity to respond to unexpected argument or evidence—not a chance to recap
25
     points already discussed or hold back evidence to “get the last word.” See Mickey v. Ayers,
26
     606 F.3d 1223, 1248 (9th Cir. 2010). Moreover, while Plaintiffs say Mr. Elhauge will
27
     address less restrictive alternatives, he has affirmatively disavowed any affirmative
28

                                                       1
      Case No. 2:15-ml-02668-PSG (SKx)                     NFL Defendants’ Response In Opposition To Plaintiffs’ Motion For
                                                                                 Reconsideration Regarding Rebuttal Case
 Case 2:15-ml-02668-PSG-SK Document 1437 Filed 06/19/24 Page 3 of 5 Page ID #:52679



 1   opinions on the but-for world. See Kilaru Decl. Ex. 1 (Elhauge Dep. Tr. 73:2–6) (“Q: Are
 2   you offering – I take it, from what you said earlier, you’re not offering affirmative opinions
 3   on what the but-for world would look like; is that correct? A. That’s correct.”). Rebuttal
 4   is certainly not a phase in which new, undisclosed, and untested opinions should be
 5   presented.
 6          Plaintiffs also say they now want to call a commercial class representative, but
 7   yesterday, they represented to the Court they were “happy not to call the two
 8   plaintiffs.” 6/18/2024 Tr. 1624:20; see also Tr. 1622:20–22 (“MS. WILKINSON: But
 9   they’re now telling us that, along with these two class representatives – THE COURT: it’s
10   not going to happen.”). It also bears noting that Mr. Baker, one of the commercial class
11   representatives, was in court throughout both sides’ cases-in-chief.
12          All of this appears to be gamesmanship. As further proof, Plaintiffs represented to
13   the Court yesterday that they would provide Defendants with information about their
14   expected rebuttal case.
15                  MS. WILKINSON: Your Honor, could we get from plaintiffs
                    the order they will call these witnesses now, assuming you
16
                    would let everyone in. We just need to know the order.
17
                    THE COURT: Can you do that informally? Is that something
18                  you guys can do tonight?
19
                    MS. WILKINSON: Yes. They’re supposed to give us 72 hours’
20                  notice but we know, both of us, it’s not always clear, you know,
                    when we’re going to end. So it would be very helpful if they
21
                    would agree to give it to us after court today.
22
                    THE COURT: Is that agreeable?
23

24
                    MR. SELTZER: I think we can do that, Your Honor.

25   6/18/2024 Tr. 1834:4–15. But that is not what they did. As the attached email
26   correspondence notes, at 9:56 PM last night, Plaintiffs informed Defendants only that they
27   do not intend to present Mr. Baker or Mr. DeLuca. At 12:07 AM this morning, they stated
28   they still intended to call Dr. Rascher and “may change the order with Mr. Lennon, but
                                                   2
      Case No. 2:15-ml-02668-PSG (SKx)                 NFL Defendants’ Response In Opposition To Plaintiffs’ Motion For
                                                                             Reconsideration Regarding Rebuttal Case
 Case 2:15-ml-02668-PSG-SK Document 1437 Filed 06/19/24 Page 4 of 5 Page ID #:52680



 1   plan to at least put Professor Elhauge on before Dr. Rascher.” See Kilaru Decl. Ex. 2.
 2   Plaintiffs’ motion for reconsideration is the first time they disclosed what witnesses they
 3   actually wanted to call and in what order.
 4         The Court should deny the motion for reconsideration.
 5

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

                                                  3
     Case No. 2:15-ml-02668-PSG (SKx)                 NFL Defendants’ Response In Opposition To Plaintiffs’ Motion For
                                                                            Reconsideration Regarding Rebuttal Case
 Case 2:15-ml-02668-PSG-SK Document 1437 Filed 06/19/24 Page 5 of 5 Page ID #:52681



 1   Dated: June 19, 2024               Respectfully submitted,
 2                                      /s/ Beth A. Wilkinson
 3                                      Beth A. Wilkinson (admitted pro hac vice)
                                        Rakesh N. Kilaru (admitted pro hac vice)
 4                                      Brian L. Stekloff (admitted pro hac vice)
                                        Jeremy S. Barber (admitted pro hac vice)
 5                                      Max J. Warren (admitted pro hac vice)
 6
                                        WILKINSON STEKLOFF LLP
                                        2001 M Street NW, 10th Floor
 7                                      Washington, DC 20036
                                        Telephone: (202) 847-4000
 8                                      Facsimile: (202) 847-4005
                                        bwilkinson@wilkinsonstekloff.com
 9                                      rkilaru@wilkinsonstekloff.com
10                                      bstekloff@wilkinsonstekloff.com
                                        jbarber@wilkinsonstekloff.com
11                                      mwarren@wilkinsonstekloff.com
12                                      Neema T. Sahni (Bar No. 274240)
13
                                        COVINGTON & BURLING LLP
                                        1999 Avenue of the Stars
14                                      Suite 1500
                                        Los Angeles, CA 90067-6045
15                                      Telephone: (424) 332-4800
                                        Facsimile: (424) 332-4749
16                                      nsahni@cov.com
17
                                        Gregg H. Levy (admitted pro hac vice)
18                                      Derek Ludwin (admitted pro hac vice)
                                        John S. Playforth (admitted pro hac vice)
19                                      COVINGTON & BURLING LLP
20
                                        One CityCenter
                                        850 Tenth Street NW
21                                      Washington, DC 20001
                                        Telephone: (202) 662-6000
22                                      Facsimile: (202) 662-6291
                                        glevy@cov.com
23                                      dludwin@cov.com
24                                      jplayforth@cov.com

25                                      Counsel for Defendants National Football
                                        League, NFL Enterprises LLC, and the Individual
26                                      NFL Clubs
27

28

                                             4
     Case No. 2:15-ml-02668-PSG (SKx)            NFL Defendants’ Response In Opposition To Plaintiffs’ Motion For
                                                                       Reconsideration Regarding Rebuttal Case
